       CASE 0:25-cv-01024-PJS-DTS          Doc. 4   Filed 03/21/25   Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            IN THE DISTRICT OF MINNESOTA


 JAMES ANDREW GRIMMER,                        Civil Action No. 0:25-cv-01024-PJS-DTS

               Plaintiff,
 v.
                                                      RULE 7.1 CORPORATE
 CAPITAL ONE, N.A.; and                             DISCLOSURE STATEMENT
 GURSTEL LAW FIRM, P.C.

               Defendants.


      Defendant Capital One, N.A. makes the following disclosures pursuant to Federal

Rule of Civil Procedure 7.1:

      1.       Does Capital One, N.A. have a parent corporation and/or wholly owned
               subsidiary?

                  Yes                 No

      If yes, the parent corporation and/or wholly owned subsidiary is/are: Capital One

Financial Corporation.

      2.       Is 10% or more of the stock of Capital One, N.A. owned by a publicly held

corporation?

                 Yes            No

      If yes, identify all such owners:




                            ~ SIGNATURE BLOCK FOLLOWS ~
      CASE 0:25-cv-01024-PJS-DTS   Doc. 4   Filed 03/21/25    Page 2 of 2




                           BASSFORD REMELE
                           A Professional Association
Dated: March 21, 2025.     By s/ Patrick D. Newman
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